                                                                                            FILED
           Case 3:22-cr-00364-VC Document 11 Filed 09/20/22 Page 1 of 6


                                                                                                  20 2022
                                                                                              Sep 21

                                                                                            Mark B. Busby
                       UNITED STATES DISTRICT COURT                                   CLERK, U.S. DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA                             NORTHERN DISTRICT OF CALIFORNIA
                                                                                           SAN FRANCISCO


                             CRIMINAL COVER SHEET
Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER: 22-cr-00364 VC
 USA V.    Cesia Medina-Zuniga                                      CR

 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF ✔ OAK             SJ

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                    Alethea M. Sargent                    Date Submitted:   9/20/22
 (Lead Attorney):

 Comments:




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
Case 3:22-cr-00364-VC Document 11 Filed 09/20/22 Page 2 of 6


    United States District Court
                        FOR THE
             NORTHERN DISTRICT OF CALIFORNIA                                              FILED
                  VENUE: SAN FRANCISCO
                                                                                           Sep 20 2022

                                                                                          Mark B. Busby
                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                                         SAN FRANCISCO

                       UNITED STATES OF AMERICA,
                                        V.

                         CESIA MEDINA-ZUNIGA

                                                                         22-cr-00364 VC




                             DEFENDANT(S).


                            INDICTMENT

                 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (one count)
               21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(vi) (three counts)




        A true bill.

        /s/ Foreperson of the Grand Jury
                                                             Foreman

        Filed in open court this __________
                                 20th       day of

        _________________________________.
        September

        ____________________________________________
                                                       Clerk
        ____________________________________________
        Alex G. Tse, United States Magistrate Judge
                                      Bail, $ _____________
                                              No Process
                Case 3:22-cr-00364-VC Document 11 Filed 09/20/22 Page 3 of 6




 1 STEPHANIE M. HINDS (CABN 154284)                                                   FILED
   United States Attorney
 2                                                                                      Sep 20 2022

                                                                                       Mark B. Busby
 3
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                              NORTHERN DISTRICT OF CALIFORNIA
 4                                                                                    SAN FRANCISCO

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                        )   CASE NO. 22-cr-00364 VC
                                                      )
12           Plaintiff,                               )   VIOLATIONS:
                                                      )   21 U.S.C. §§ 841(a)(1) and (b)(1)(C) – Possession
13      v.                                            )   with Intent to Distribute and Distribution of
                                                      )   Fentanyl;
14   CESIA MEDINA-ZUNIGA,                             )   21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(vi) –
                                                      )   Possession with Intent to Distribute and Distribution
15           Defendant.                               )   of 40 Grams and More Fentanyl;
                                                      )
                                                      )   21 U.S.C. § 853 – Forfeiture Allegation
16

17

18                                             INDICTMENT

19 The Grand Jury charges:

20 COUNT ONE:               (21 U.S.C. § 841(a)(1) and (b)(1)(C) – Possession with Intent to Distribute and
                            Distribution of Fentanyl)
21

22           On or about July 12, 2022, in the Northern District of California, the defendant,

23                                          CESIA MEDINA-ZUNIGA,

24 did knowingly and intentionally distribute and possess with intent to distribute a mixture and substance

25 containing a detectable amount of N-phenyl-N-[1- ( 2-phenylethyl ) -4-piperidinyl] propanamide,

26 commonly known as fentanyl, a Schedule II controlled substance, in violation of Title 21, United States

27 Code, Section 841(a)(1) and (b)(1)(C).

28


     INDICTMENT
                  Case 3:22-cr-00364-VC Document 11 Filed 09/20/22 Page 4 of 6




 1 COUNT TWO:              (21 U.S.C. § 841(a)(1) and (b)(1)(B)(vi) – Possession with Intent to Distribute
                           and Distribution of 40 Grams and More of Fentanyl)
 2
            On or about July 19, 2022, in the Northern District of California, the defendant,
 3
                                           CESIA MEDINA-ZUNIGA,
 4
     did knowingly and intentionally distribute and possess with intent to distribute 40 grams and more of a
 5
     mixture and substance containing a detectable amount of N-phenyl-N-[1- ( 2-phenylethyl ) -4-
 6
     piperidinyl] propanamide, commonly known as fentanyl, a Schedule II controlled substance, in violation
 7
     of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B)(vi).
 8
     COUNT THREE:          (21 U.S.C. § 841(a)(1) and (b)(1)(B)(vi) – Possession with Intent to Distribute
 9                         and Distribution of 40 Grams and More of Fentanyl)

10          On or about July 26, 2022, in the Northern District of California, the defendant,

11                                         CESIA MEDINA-ZUNIGA,

12 did knowingly and intentionally distribute and possess with intent to distribute 40 grams and more of a

13 mixture and substance containing a detectable amount of N-phenyl-N-[1- ( 2-phenylethyl ) -4-

14 piperidinyl] propanamide, commonly known as fentanyl, a Schedule II controlled substance, in violation

15 of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B)(vi).

16 COUNT FOUR:             (21 U.S.C. § 841(a)(1) and (b)(1)(B)(vi) – Possession with Intent to Distribute
                           and Distribution of 40 Grams and More of Fentanyl)
17
            On or about August 19, 2022, in the Northern District of California, the defendant,
18
                                           CESIA MEDINA-ZUNIGA,
19
     did knowingly and intentionally distribute and possess with intent to distribute 40 grams and more of a
20
     mixture and substance containing a detectable amount of N-phenyl-N-[1- ( 2-phenylethyl ) -4-
21
     piperidinyl] propanamide, commonly known as fentanyl, a Schedule II controlled substance, in violation
22
     of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B)(vi).
23
     FORFEITURE ALLEGATION:                (21 U.S.C. § 853(a))
24
            The allegations contained above are hereby re-alleged and incorporated by reference for the
25
     purpose of alleging forfeiture pursuant to Title 21, United States Code, Section 853(a).
26
            Upon conviction of any of the offenses alleged in Counts One through Four above, the
27
     defendant,
28


     INDICTMENT                                      2
                Case 3:22-cr-00364-VC Document 11 Filed 09/20/22 Page 5 of 6




 1                                          CESIA MEDINA-ZUNIGA,

 2 shall forfeit to the United States all right, title, and interest in any property constituting and derived from

 3 any proceeds defendant obtained, directly or indirectly, as a result of such violations, and any property

 4 used, or intended to be used, in any manner or part, to commit or to facilitate the commission of such

 5 violations, including but not limited to a forfeiture money judgment of $2,680.

 6          If any of the property described above, as a result of any act or omission of the defendant:

 7                  a.      cannot be located upon exercise of due diligence;

 8                  b.      has been transferred or sold to, or deposited with, a third party;

 9                  c.      has been placed beyond the jurisdiction of the court;

10                  d.      has been substantially diminished in value; or

11                  e.      has been commingled with other property which cannot be divided without

12                          difficulty,

13 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

14 United States Code, Section 853(p).

15          All pursuant to Title 21, United States Code, Section 853, and Federal Rule of Criminal

16 Procedure 32.2.

17

18 DATED:           September 20, 2022                             A TRUE BILL.

19

20                                                                 /s/ Grand Jury Foreperson
                                                                   FOREPERSON
21                                                                 SAN FRANCISCO, CALIFORNIA
22
   STEPHANIE M. HINDS
23 United States Attorney

24

25 /s/ Alethea M. Sargent
   ALETHEA M. SARGENT
26 Assistant United States Attorney

27

28


     INDICTMENT                                        3
AO 257 (Rev. 6/78)               Case 3:22-cr-00364-VC Document 11 Filed 09/20/22 Page 6 of 6

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:        COMPLAINT                 INFORMATION                 INDICTMENT                        Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                         NORTHERN DISTRICT OF CALIFORNIA
           OFFENSE CHARGED
 Count 1: 21 U.S.C. § 841(a)(1), (b)(1)(C) - possession with             Petty                                                                FILED
 intent to distribute and distribution of a mixture or
                                                                         Minor              DEFENDANT - U.S
 substance containing a detectable amount of fentanyl                                                                                               20 2022
                                                                                                                                                Sep 21
 Counts 2-4: 21 U.S.C. § 841(a)(1), (b)(1)(B)(vi) - possession
                                                                         Misde-
 with intent to distribute and distribution of 40 grams or                                                                                   Mark B. Busby
 more of a mixture or substance containing a detectable                  meanor
                                                                                           CESIA MEDINA-ZUNIGA                        CLERK, U.S. DISTRICT COURT
 amount of fentanyl
                                                                         Felony                                                     NORTHERN DISTRICT OF CALIFORNIA
                                                                                               DISTRICT COURT NUMBER                        SAN FRANCISCO
PENALTY:       Count 1: Maximum 20 years imprisonment; Maximum $1,000,000
               fine; Minimum 3 years supervised release                                          22-cr-00364 VC
               Counts 2-4: Maximum 40 years imprisonment; Minimum 5 years
               imprisonment; Maximum $5,000,000 fine; Minimum 4 years
               supervised release
                                                                                                                         DEFENDANT
                                PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                   Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                1)       If not detained give date any prior
                                                                                                   summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                        2)       Is a Fugitive
       give name of court
                                                                                          3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                 IS IN CUSTODY
                                                                                          4)       On this charge
       this is a reprosecution of

                                                                                                                                    }
       charges previously dismissed                                                       5)       On another conviction
       which were dismissed on motion                               SHOW                                                                      Federal         State


                                                            }
       of:                                                        DOCKET NO.
                                                                                          6)       Awaiting trial on other charges
             U.S. ATTORNEY                DEFENSE
                                                                                                    If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                             }
                                                                                                                   Yes            If "Yes"
       pending case involving this same                                                        Has detainer
                                                                                                                                  give date
       defendant                                                  MAGISTRATE                   been filed?         No             filed


                                                            }
                                                                   CASE NO.
       prior proceedings or appearance(s)                                                      DATE OF
                                                                                               ARREST
                                                                                                                         Month/Day/Year
       before U.S. Magistrate regarding this
                                                                 22-mj-71170
       defendant were recorded under                                                           Or... if Arresting Agency & Warrant were not

                                                                                                                                        Month/Day/Year
Name and Office of Person
Furnishing Information on this form                   Stephanie M. Hinds
                                                                                               DATE TRANSFERRED
                                                                                               TO U.S. CUSTODY
                                                                                                                             
                                   U.S. Attorney            Other U.S. Agency

Name of Assistant U.S.                                                                              This report amends AO 257 previously submitted
Attorney (if assigned)                        Alethea M. Sargent
                                                           ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
             SUMMONS                 NO PROCESS*                 WARRANT          Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                    * Where defendant previously apprehended on complaint, no new summons or
                                                                                  warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                  Date/Time:                                 Before Judge:

        Comments:
